     Case 2:90-cv-00520-KJM-SCR    Document 3151   Filed 10/30/08   Page 1 of 8


 1 PRISON LAW OFFICE                          ROSEN BIEN & GALVAN, LLP
   DONALD SPECTER, Bar No. 83925              MICHAEL W. BIEN, Bar No. 96891
 2 STEVEN FAMA, Bar No. 99461                 JANE E. KAHN, Bar No. 112239
   SARA NORMAN, Bar No. 189536                AMY WHELAN, Bar No. 215675
 3 ALISON HARDY, Bar No. 135966               LISA ELLS, Bar No. 243657
   REBEKAH EVENSON, Bar No. 207825            MARIA V. MORRIS, Bar No. 223903
 4 1917 Fifth Street                          315 Montgomery Street, 10th Floor
   Berkeley, CA 94710                         San Francisco, CA 94104
 5 Telephone: (510) 280-2621                  Telephone: (415) 433-6830
 6 K & L GATES LLP                            BINGHAM, McCUTCHEN, LLP
   JEFFREY L. BORNSTEIN, Bar No. 99358        WARREN E. GEORGE, Bar No. 53588
 7 EDWARD P. SANGSTER, Bar No. 121041         Three Embarcadero Center
   RAYMOND E. LOUGHREY, Bar No. 194363        San Francisco, CA 94111
 8 55 Second Street, Suite 1700               Telephone: (415) 393-2000
   San Francisco, CA 94105-3493
 9 Telephone: (415) 882-8200
10 THE LEGAL AID SOCIETY -
   EMPLOYMENT LAW CENTER
11 CLAUDIA CENTER, Bar No. 158255
   600 Harrison Street, Suite 120
12 San Francisco, CA 94107
   Telephone: (415) 864-8848
13
   Attorneys for Plaintiffs
14
                                 IN THE UNITED STATES DISTRICT COURTS
15                            FOR THE EASTERN DISTRICT OF CALIFORNIA
16                          AND THE NORTHERN DISTRICT OF CALIFORNIA
17               UNITED STATES DISTRICT COURT COMPOSED OF THREE JUDGES
                   PURSUANT TO SECTION 2284, TITLE 28 UNITED STATES CODE
18
19 RALPH COLEMAN,         et al.,
                  Plaintiffs,
                                                )
                                                )
                                                      No. Civ S 90-0520 LKK-JFM P

20                                              )     THREE-JUDGE COURT
          vs.                                   )
21 ARNOLD SCHWARZENEGGER, et al.,               )
                                                )     No. C01-1351 THE
22                Defendants                    )
                                                )     THREE-JUDGE COURT
23 MARCIANO PLATA, et al.,                      )
                                                )     PLAINTIFFS’ OPPOSITION TO
24                Plaintiffs,                   )     DEFENDANTS’ MIL NO. 7 (RE
                                                )     SUBSEQUENT REMEDIAL MEASURES)
25        vs.                                   )
                                                )
26 ARNOLD     SCHWARZENEGGER,           et al., )
                  Defendants                    )
27
28
         Case 2:90-cv-00520-KJM-SCR              Document 3151         Filed 10/30/08     Page 2 of 8


 1
 2                                               I. INTRODUCTION
 3             The Court should deny Defendants’ Motion in Limine No. 7, which asks the Court to exclude
 4 evidence of “subsequent remedial measures,” because the evidence defendants seek to exclude simply
 5 does not fit within the parameters of Federal Rule of Evidence 407, and even if it did, the evidence is
 6 admissible under the broad exceptions to Rule 407.
 7                                                 II. ARGUMENT
 8 A. Rule 407 does not apply in this case
 9             Federal Rule of Evidence 407 (“Rule 407”) provides:
10             When, after an injury or harm allegedly caused by an event, measures are taken that, if
               taken previously, would have made the injury or harm less likely to occur, evidence of the
11             subsequent measures is not admissible to prove negligence, culpable conduct, a defect in
               a product, a defect in a product’s design, or a need for a warning or instruction. This rule
12             does not require the exclusion of evidence of subsequent measures when offered for
               another purpose, such as proving ownership, control, or feasibility of precautionary
13             measures, if controverted, or impeachment.
14             Defendants contend that plaintiffs should be barred from introducing evidence of 1) the
15 Governor’s Prison Overcrowding State of Emergency Proclamation (“Emergency Proclamation”); 2)
16 Assembly Bill 900 (“AB 900”); and 3) the convening of CDCR’s Expert Panel on Adult Offender
17 Reentry and Recidivism Reduction Programs (“Expert Panel”). As we demonstrate below, this motion
18 makes no sense in light of the facts of this case, and defendants’ defenses.
19             1. Rule 407 only excludes evidence used “to prove negligence, culpable conduct, a defect in a
20 product, a defect in a product's design, or a need for a warning or instruction.” F.R.E. 407. These are all
21 elements relevant to proving liability or degree of culpability. But this three-judge court is convened to
22 conduct a remedy proceeding, and neither liability nor culpability are at issue here. See 18 U.S.C. §§
23 3636(a)(1), (3) (setting forth factors to consider in determining whether to issue prospective relief and
24 prisoner release order). Accordingly, Rule 407 does not exclude any evidence in this matter.
25             Defendants attempt to shoehorn their motion into the rule by claiming that the Emergency
26 Proclamation, AB 900 and the Expert Panel should not be used “to prove that the alleged constitutional
27 violations in medical and mental health care do in fact currently exist, or that overcrowding is the
28 primary cause of the alleged violations.” Def’s MIL No. 7 at 5. But proof of the existence of conditions,
     Pltfs’ Opp to Def’s MIL No. 7
     Re Subsequent remedial measures
     Case Nos. 90-00520; 01-1351                            1
         Case 2:90-cv-00520-KJM-SCR             Document 3151        Filed 10/30/08     Page 3 of 8


 1 or evidence of the cause of those conditions, does not amount to proof of “culpable conduct” excludable
 2 under Rule 407. Accordingly, the rule does not apply.
 3             2. Rule 407 applies only to situations where remedial measure are taken “after an injury or harm
 4 allegedly caused by an event.” F.R.E. 407 (emphasis added). Here, however, the constitutional
 5 violations continue and the injuries are ongoing, so the Emergency Proclamation, AB 900 or the Expert
 6 Panel recommendations were not “measures taken” after the injuries were suffered. Courts have
 7 regularly found that “remedial measures” taken before the “event” causing an injury do not fit within
 8 Rule 407's prohibition. In re Aircrash in Bali, Indonesia, 871 F.2d 812, 816 (9th Cir. 1989) (report
 9 developed prior to accident but issued one day after accident was not treated as a subsequent remedial
10 measure because it was not a response to the accident); W.E. Green v. Baca, 226 F.R.D. 624, 635 (C.D.
11 Cal. 2005) (Rule 407 did not provide a basis for the exclusion of reports because they were prepared
12 prior to the incident that was the subject of the lawsuit); City of Richmond, Virginia, v. Madison
13 Management Group, Inc., 918 F.2d 438, 460 (4th Cir. 1990) (since the “event” at issue was the bursting
14 of the pipe, it was not a violation of Rule 407 to admit evidence of remedial measures that occurred
15 before the pipe bursted); Bogosian v. Mercedes-Benz of North America, Inc., 104 F.3d 472, 481 (1st Cir.
16 1997) (Rule 407 “does not apply where, as here, the modification took place before the accident that
17 precipitated the suit.”); Traylor v. Husqvarna Motor, 988 F.2d 729, 733 (7th Cir. 1993) (“the problem
18 with applying Rule 407 was . . . the fact that the remedial measures were taken before rather than after
19 the ‘event’”). There can be no “subsequent measures” where the constitutional violations are not yet
20 alleviated, and thus Rule 407 does not apply in this case.
21             3. Rule 407 applies only to measures “taken that, if taken previously, would have made the
22 injury or harm less likely to occur.” F.R.E. 407 (emphasis added). But any measures that the defendants
23 have taken did not make the injuries suffered by plaintiffs “less likely to occur,” since the health care
24 provided in the prisons remains unconstitutional. Indeed, defendants argue strenuously that neither the
25 Emergency Proclamation, AB 900, nor the Expert Panel were “directed at improving the delivery of
26 medical or mental health care.” Def’s MIL No. 7 at 5. That being so, and since the harms alleged in this
27 case arise from unconstitutional delivery of medical and mental health care, defendants have implicitly
28 conceded they have taken no “subsequent measures” to “ma[ke] the injury or harm less likely to occur,”
     Pltfs’ Opp to Def’s MIL No. 7
     Re Subsequent remedial measures
     Case Nos. 90-00520; 01-1351                          2
         Case 2:90-cv-00520-KJM-SCR              Document 3151         Filed 10/30/08      Page 4 of 8


 1 and Rule 407 does not apply.
 2             Defendants apparently contend that because their efforts are “directed at overcrowding” (i.e. the
 3 cause of the unconstitutional conditions that cause the harms), they are somehow protected by the Rule.
 4 But the measures failed. All the measures at issue in this motion were taken more than 18 months ago,
 5 and yet overcrowding persists. Thus, the Emergency Proclamation, AB 900, and the Expert Panel are
 6 not “subsequent remedial measures” that made the “injury or harm less likely to occur.” F.R.E. 407
 7 (emphasis added).1
 8             4. Rule 407 addresses only situations where an injury is “caused by an event.” F.R.E. 407
 9 (emphasis added). But this is a case of ongoing constitutional violations where there is no identifiable
10 “event” that caused an injury. Defendants do not even attempt to define the “event” alleged to have
11 caused the injuries in this case.
12             In short, unlike the typical tort case – where injuries are caused by an automobile accident, a
13 defective product, or even a dangerous condition like a pothole – the concepts of “culpable conduct,” an
14 injury “caused by an event” and “subsequent remedial measures” just do not make sense in the context
15 of these remedy proceedings in which plaintiffs seek an injunction to remedy ongoing constitutional
16 violations. Because the very text of Rule 407 demonstrates that the Rule does not apply to this case,
17 defendants’ motion should be denied.
18 B.          Even if Rule 407 did apply, the evidence defendants seek to exclude falls within exceptions
               to Rule 407.
19
               The evidence that defendants seek to exclude fits squarely within the broad exceptions to Rule
20
     407. Rule 407 “does not require the exclusion of evidence of subsequent measures when offered for
21
22             1
                The only case that defendants cite in support of their motion is Ford v. Schmidt, 577 F.2d 408,
             th
23   410 (7 Cir. 1978) in which a prisoner challenged a prison’s mail policy, the prison subsequently revised
     its mail policy, and the court limited evidence of the revised policy “to the injunctive relief claim only.”
24   Id. Unlike the case at hand however, in Ford the court found that “there can be no doubt” that if the new
25   policy had existed at the time the suit was filed, the policy “would have avoided the event in litigation.”
     Id. at 411. Defendants make no such contention in this case, nor could they, since the violations giving
26   rise to this litigation are ongoing. Moreover, the Ford court did not exclude the evidence of the new
     policy altogether; it allowed evidence of the new policy in proceedings related to the prisoner’s
27   injunctive relief claim. Id. The entire proceedings before this three judge court are for injunctive relief,
28   and the evidence of the so-called “remedial measures” is relevant and admissible for that purpose.

     Pltfs’ Opp to Def’s MIL No. 7
     Re Subsequent remedial measures
     Case Nos. 90-00520; 01-1351                            3
         Case 2:90-cv-00520-KJM-SCR             Document 3151        Filed 10/30/08      Page 5 of 8


 1 another purpose, such as proving ownership, control, or feasibility of precautionary measures, if
 2 controverted, or impeachment.” F.R.E. 407 (emphasis added). Each of the matters defendants seek to
 3 exclude will be offered for other purposes.
 4             1. The PLRA specifically makes the availability (or unavailability) of other “remedial measures”
 5 an element of the case. Under 18 U.S.C. §3626(a)(3)(E)(ii), the court can only issue a prisoner release
 6 order if “no other relief will remedy the violation of the Federal right.” Since the existence of other
 7 potential relief is an element of the case, such alternatives – tried or untried – are necessarily relevant
 8 and admissible.
 9             2. Defendants themselves have made their attempts at alleviating overcrowding a centerpiece of
10 their defense in this action. From the beginning, and throughout the three judge court proceedings, they
11 have contended that they will solve the overcrowding crisis through AB 900, or out-of-state transfers
12 authorized by the Emergency Proclamation, or increased recidivism-reducing programs. See, e.g.,
13 Coleman Order convening Three Judge Court, 7/23/07 at 10 -12 (Coleman Docket No. 2320) (noting
14 defendants’ reliance upon AB 900 and recidivism-reducing programs as measures that will reduce prison
15 population and make prisoner release order unnecessary). The Plata court noted the defense and found
16 that if the population-reducing reforms “were actually implemented and reduced levels of prison
17 crowding as estimated, then a three-judge court may find that a prisoner release order is not warranted.”
18 Plata Order convening Three Judge Court, 7/23/07 (Plata Docket No. 780) at 9. Defendants cannot use
19 population reform measures as the core of their defense while at the same time preventing plaintiffs from
20 even mentioning them.
21             3. The PLRA requires a court granting prospective relief to “give substantial weight to any
22 adverse impact on public safety or the operation of a criminal justice system caused by the relief.” 18
23 U.S.C. §3626(a)(1)(A). Defendants and several of the intervenors contend that reducing the prison
24 population would have an adverse impact on public safety. But in the Emergency Proclamation and the
25 Expert Panel Report, defendants and their experts admit that overcrowding itself has an adverse impact
26 on public safety. See Emergency Proclamation (the Emergency Proclamation can be found at
27 http://gov.ca.gov/proclamation/4278/ (site last visited 10/27/08)); Expert Panel Report at 9 (the Expert
28 Panel Report can be found at http://www.cdcr.ca.gov/news/ExpertPanel.html (site last visited
     Pltfs’ Opp to Def’s MIL No. 7
     Re Subsequent remedial measures
     Case Nos. 90-00520; 01-1351                           4
         Case 2:90-cv-00520-KJM-SCR             Document 3151         Filed 10/30/08     Page 6 of 8


 1 10/27/08)). And in the Expert Panel Report, CDCR’s consultants demonstrate how the department
 2 could safely reduce its prison population. Expert Panel Report, Appendix E. These admissions are
 3 relevant to controvert defendants’ and intervenors’ “public safety” defenses.
 4             4. The Emergency Proclamation and the Expert Panel Report are relevant impeachment
 5 evidence. Defendants have contested the harms plaintiffs allege to have been caused by overcrowding,
 6 and claimed that they could fix the medical system without fixing overcrowding. But in the Emergency
 7 Proclamation the Governor declared that “the current severe overcrowding in 29 CDCR prisons has
 8 caused substantial risk to the health and safety of . . . the inmates housed in them.” Emergency
 9 Proclamation, supra. Large numbers of prisoners live in “increased, substantial risk for transmission of
10 infectious illnesses.” Id. Overcrowding causes “extreme peril” because the prison population “exceeds
11 the capabilities of the services, personnel, equipment, and facilities.” Id. As a result of overcrowding,
12 the Governor estimated that more than 15,000 prisoners were housed in “conditions that pose substantial
13 safety risks, namely, prison areas never designed or intended for inmate housing, including, but not
14 limited to, common areas such as prison gymnasiums, dayrooms, and program rooms.” Id. at 1. These
15 statements are admissible as impeachment, and as statements of a party and admissions against interest.
16             Similarly, the Expert Panel Report found, contrary to defendants’ contentions, that “[n]ot only
17 does overcrowding have a negative impact on [rehabilitative] programming but, according to documents
18 provided to the court by CDCR Chief Deputy Secretary Scott Kernan (2007), ‘housing inmates in non-
19 traditional quarters presents serious safety concerns for both inmates and correctional staff. The
20 overcrowding of CDCR facilities has led to increased numbers [of] infectious disease outbreaks and riots
21 and disturbances system-wide.’” Expert Panel Report at 9. This conclusion led to the Expert Panel’s
22 first recommendation, which was to “reduce overcrowding in [CDCR’s] prison facilities and parole
23 offices.” Id. at 10. Like the Governor’s statements in the Emergency Proclamation, the Expert Panel
24 Report is admissible for impeachment, and as statements of a party and admissions against interest.
25             Accordingly, all of the evidence defendants seek to exclude fits within an exception to Rule 407,
26 and the Motion should be denied.
27
28
     Pltfs’ Opp to Def’s MIL No. 7
     Re Subsequent remedial measures
     Case Nos. 90-00520; 01-1351                           5
         Case 2:90-cv-00520-KJM-SCR             Document 3151       Filed 10/30/08      Page 7 of 8


 1 C.          The convening of the Expert Panel is not a “remedial measure” under Rule 407
 2             Defendants contend that their decision to convene the Expert Panel should be excluded as a
 3 remedial measure under Rule 407. But the Expert Panel was convened “to complete an assessment of
 4 California’s adult prison and parole programs designed to reduce recidivism” and to make
 5 recommendations on those topics. Expert Panel Report at vii. Since the mission of the Expert Panel was
 6 not to fix the harms alleged in this case it can not a “subsequent remedial measure” under Rule 407.
 7 That the Expert Panel’s analysis concluded that overcrowding has pervasive impacts throughout
 8 CDCR’s operations does not transform it into a “subsequent remedial measure” inadmissible under Rule
 9 407. That would turn the purpose of Rule 407 on its head. Rule 407 is intended as a measure to
10 encourage defendants who “do the right thing” by fixing a problem identified by a plaintiff. See, e.g.,
11 Advisory Committee Notes to Rule 407. This is not the situation here.
12             Nor is the report issued by the Expert Panel a remedial measure under Rule 407. A research
13 study with recommendations, such as the Expert Panel Report, is not a “remedial measure” under Rule
14 407. Fasanaro v. Mooney Aircraft Corp., 687 F.Supp. 482, 487 (N.D.Cal.1988) ("subsequent remedial
15 measures" include "only the actual remedial measures themselves and not the initial steps toward
16 ascertaining whether any remedial measures are called for" including post-event tests); Rocky Mountain
17 Helicopters v. Bell Helicopters Textron, 805 F.2d 907, 918 (10th Cir.1986) (upholding admission of
18 helicopter manufacturer's post-accident "stress test" of potentially defective component because "[i]t
19 would strain the spirit of the remedial measure prohibition in Rule 407 to extend its shield to evidence
20 contained in post-event tests or reports"); Brazos River Authority v. GE Ionics, Inc., 469 F.3d 416, 430
21 (5th Cir.2006) (post-accident investigations and tests do not fall within the exclusionary ambit of Rule
22 407 because "by themselves, post-accident investigations would not make the event 'less likely to occur;'
23 only the actual implemented changes make it so," and embracing the view of other courts that "'[t]he fact
24 that the analysis may often result in remedial measures being taken ... does not mean that evidence of the
25 analysis may not be admitted.' ") (quoting Prentiss & Carlisle Co. v. Koehring-Waterours Div. of
26 Timberjack, Inc., 972 F.2d 6, 9 (1st Cir.1992)); See also 2 Weinstein, et al., Federal Evidence (2d
27 ed.1997) § 407.06 [1] ("It is only if changes are implemented as a result of the tests that the goal of
28 added safety [under Rule 407] is furthered; and even then, it is only evidence of those changes that is
     Pltfs’ Opp to Def’s MIL No. 7
     Re Subsequent remedial measures
     Case Nos. 90-00520; 01-1351                          6
         Case 2:90-cv-00520-KJM-SCR             Document 3151        Filed 10/30/08     Page 8 of 8


 1 precluded by the rule."); City of Bethel v. Peters, 97 P.3d 822, 827 (Alaska Sep 03, 2004) (“Rule 407
 2 prohibits evidence of ‘measures’ that have been ‘taken.’ We take ‘measures’ to mean concrete actions,
 3 and to leave outside the rule's prohibition preliminary investigations and recommendations pointing
 4 toward those actions.”)
 5             Accordingly, neither the convening of the Expert Panel nor the issuance of the Expert Panel
 6 Report are remedial measure excludable under Rule 407.
 7                                                 CONCLUSION
 8             For the foregoing reasons, Defendants’ Motion in Limine No. 7 should be denied.
 9
10             DATED: October 30, 2008
11                                                         Respectfully submitted,
12                                                         By: /s/ Rebekah Evenson
13                                                         Rebekah Evenson
                                                           Prison Law Office
14                                                         Attorney for Plaintiffs in
                                                           Plata v. Schwarzenegger
15                                                         and
                                                           Coleman v. Schwarzenegger
16
17
18
19
20
21
22
23
24
25
26
27
28
     Pltfs’ Opp to Def’s MIL No. 7
     Re Subsequent remedial measures
     Case Nos. 90-00520; 01-1351                           7
